

People v Brett B. (2020 NY Slip Op 06021)





People v Brett B.


2020 NY Slip Op 06021


Decided on October 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 22, 2020

Before: Friedman, J.P., Kern, Scarpulla, Shulman, JJ. 


FalseAppeal No. 12143 Case No. 2019-3533 

[*1]The People of the State of New York, Respondent,
vBrett B., Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Molly Schindler of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Victoria Muth of counsel), for respondent.



Order, Supreme Court, New York County (Juan M. Merchan, J.), entered on or about March 12, 2019, which denied defendant's Correction Law § 168-o (2) petition to modify his sex offender classification to level two, unanimously affirmed, without costs.
The court providently exercised its discretion in denying a modification of defendant's level three classification. The mitigating circumstances cited by defendant, who was a gym teacher at the time of the underlying offenses, do not outweigh the seriousness of the underlying sex crimes against his two 14-year-old students, by which defendant demonstrated a grave risk to society (see People v Lopez, 154 AD3d 531 [1st Dept 2017]). Although defendant contends that he has lived a law-abiding life for an
extended period since his conviction, he had been on probation supervision for only 2½ years at the time of the petition.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 22, 2020








